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 8                          UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
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11   BRIAN WHITAKER,                                Case No. CV 19-6877 MWF (AGRx)
12                       Plaintiff,                 JUDGMENT
13         v.
14   SMB GROUP, et al.,
15                       Defendants.
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20         Based upon this Court’s ruling on July 17, 2020, the agreement of the parties,

21   and the partial remand from the United States Court of Appeals for the Ninth Circuit,

22   and pursuant to Rules 54(a) and 58 of the Federal Rules of Civil Procedure,

23         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that judgment

24   be entered for a total sum of $15,979.00 against Defendants SMB Group, SMB 321,

25   LLC, and Yoon Jeong Row as follows:

26         1. Statutory penalties of $2,000 against Defendants SMB Group and SMB 321,

27              LLC, jointly and severally;

28         2. Statutory penalties of $2,000.00 against Defendant Yoon Jeong Row;


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 1         3. Attorneys’ fees of $11,349.00 against all Defendants jointly and severally;
 2            and
 3         4. Costs of $630.00 against all Defendants jointly and severally.
 4         The Order to Show Cause dated August 13, 2019, is DISCHARGED as moot
 5   based on the agreement of the parties.
 6
 7   Dated: September 28, 2021                _____________________________________
                                              MICHAEL W. FITZGERALD
 8
                                              United States District Judge
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